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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                            CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                            v.                              ORDER

     JASON KESSLER, et al.,
                                                            JUDGE NORMAN K. MOON
                                   Defendants.


          Upon consideration of requests of various news organizations to bring certain personal

   electronic devices into the Courthouse during the trial in this case and finding good cause shown,

   pursuant to Standing Order 2013-8, the Court hereby authorizes the personal electronic devices

   specifically listed in the applications for press credentials which the Clerk of Court approved this

   day, October 21, 2021, may be brought into the Courthouse, subject to any inspections Court

   security may require.

          No photography, audio or video recording, or broadcasting is permitted inside the

   Courthouse. See Standing Order 2013-8 at II(E). Any violation of that prohibition may result in

   forfeiture of press credentials or other Court action.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record and to

   the U.S. Marshals Service.




                                                   DATE: October 21, 2021
